Case 16-21346-RAM Doc35 Filed 10/11/16 Page1of2

UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
CHAPTER 13 PLAN (Individual Adjustment of Debts)
[| _1st__ Amended Plan (Indicate Ist, 2nd, etc. amended, if applicable)

 

 

Li Modified Plan (Indicate Ist, 2nd, etc. amended, if applicable)
DEBTOR: Jose De Jesus Basilio JOINT DEBTOR: _Iraida Fernandez CASENO.: 16-21346
Last Four Digits of SS# = xxx-xx-4785 Last Four Digits of SSH xxx-xx-4118

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion not collected will be paid

to the creditors pro-rata under the plan:

A. $ 705.35 for months 01 to 01 ;
B. § 2,152.01 for months 02 to 36 ;
C. $ 1,857.58 for months 37 to 60 ; in order to pay the following creditors:
Administrative: Attorney's Fee- $ _3500+2500=6,000 TOTAL PAID $ 3,500.00
Balance Due $ 2500 payable $ 69.45 /month (Months 01 to 36 )

Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:

Ocwen Loan Servicing

 

 

 

 

POB 24738
1. WPB, FL 33418 TPP as of October $ 1,302.00 Months (02 to 60 )
Arrears Payment $ /month (Months 0 to 0)
Account No: _XxXxXxxxxx2833 Regular Payment $ /month (Months 0 to 0)
Americas Servicing Co
Attention: Bankruptcy
1 Home Campus Payoff at the time of filing $ 24,476.96
2. Des Moines IA 50328 Arrears at the time of filing $ 10,310.24
Arrears Payment $ 171.84 /month (Months 01 to 60)
Regular Payment $ 393.52 /month (Months 01 to 36)
Account No: Xxxxxxxxx9250 Regular Payment $ 2.95 /month (Months 37 to 60)

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

 

 

 

 

 

 

 

 

 

 

 

Description of Collateral
Secured Creditor and Value of Collatera]| Interest Rate Plan Payments | Months of Payment Total Plan Payments
0% $ 0.00 0 To 0 0.00
Priority Creditors: [as defined in 11 U.S.C. §507]
-NONE- TotalDue $
Payable $ /month (Months _to_) Regular Payment $

Unsecured Creditors: Pay $195.03 /month (Months 37 to 60 ).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:
Rejected Contracts and/or Leases
-NONE-

Assumed Contracts and/or Leases
-NONE-

Special Intentions:

Ally Financial: Debtor will pay claim directly.

Caliber Home Loans: Debtor will pay claim directly.

Laguna Club East Condominium: Debtor will pay claim directly.
Santander Consumer USA: Debtor will pay claim directly.

LF-31 (rev. 01/08/10)

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com Best Case Bankruptcy
Case 16-21346-RAM Doc35 Filed 10/11/16 Page 2 of 2

I declare that the foregoing chapter 13 pian is true and correct under penalty of perjury.

/s/ Jose De Jesus Basilio

 

Jose De Jesus Basilio
Debtor

Date: October 11, 2016

 

LF-31 (rev. 01/08/10)

Software Copyright (c} 1996-2016 Best Case, LLC - www.bestcase.com

/s/ lraida Fernandez
lraida Fernandez
Joint Debtor

Date: October 11, 2016

Best Case Bankruptcy
